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                                    UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF KENTUCKY
                                   CENTRAL DIVISION AT LEXINGTON
                                    CRIMINAL MINUTES – GENERAL

Case No. 5:14-CR-74-DCR-6                         At Lexington          Date        February 27, 2019

USA vs Katherine Michelle Jones                   x present        custody      x    bond       OR Age


PRESENT:        Hon. Danny C. Reeves, U.S. District Judge

                    Lisa Moore                    Peggy Weber                    David Kiebler
                   Deputy Clerk                   Court Reporter             Assistant U.S. Attorney

Counsel for Defendant Kathryn Ann Walton          x present          retained            x appointed

PROCEEDINGS:          FINAL HEARING ON SUPERVISED RELEASE VIOLATIONS

        The parties appeared as noted for a final hearing regarding alleged violations of supervised release.
United States Probation Officer Glenn Collins was also present. The defendant was advised of her rights as
well as the nature and circumstances of the alleged violations. After being duly sworn, the defendant stipulated
to the violations set forth in the February 21, 2019, Supervised Release Violation Report. Based on the
defendant’s stipulation and the information contained in the Violation Report, the Court finds that the
supervised release violations occurred as alleged. The Court finds that the stipulation is knowing and voluntary.
The defendant was advised of her appellate rights at the conclusion of the hearing.

       Being sufficiently advised, it is hereby

       ORDERED as follows:

       1.      The defendant’s previously-imposed term of supervised release is REVOKED.

       2.      A Revocation Judgment in conformity to the Court’s ruling shall be forthcoming.

       Dated: February 27, 2019.




Copies: COR, USP, USM

Initials of Deputy Clerk lkm
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